Case: 1:24-cv-05218 Document #: 69-2 Filed: 08/06/24 Page 1 of 44 PageID #:1119




                       EXHIBIT B
Chat Light | Video Chat Light | Webcam Light | Skype Light | Chat Lighting                                       https://web.archive.org/web/20130127020653/http://www.chatlight.com/
                                         Case: 1:24-cv-05218 Document #: 69-2 Filed: 08/06/24 Page 2 of 44 PageID #:1120


          Video Chat Light
          Shopping Cart Customer Service

               • home
               • laptop VCL
               • ipad VCL
               • about us
               • contact




                        01:13


                                                                                              Order Chat Light Now!

          About the Founders




                            Henry Geddes, a Founder of Splashlight Studios of NYC, LA and Miami saw a problem with video chat. Learn More...
                                                                                                                                                                      close
                                                                                                                                                  PIP-000003
1 of 3                                                                                                                                                           7/24/2024, 9:47 AM
Chat Light | Video Chat Light | Webcam Light | Skype Light | Chat Lighting                                              https://web.archive.org/web/20130127020653/http://www.chatlight.com/
                                         Case: 1:24-cv-05218 Document #: 69-2 Filed: 08/06/24 Page 3 of 44 PageID #:1121

          Before And After




                      Get out of the darkness and look so much better with a Chat Light! Learn More...

          try it risk free




                           If for any reason, you’re not 100% delighted with your Chat Light, simply return it for a prompt courteous refund of your purchase price. Learn
          More...

          Try Chat Light Risk Free!

          If, for any reason, you're not delighted with your initial shipment, simply return the Chat Light for a prompt, courteous refund of your purchase price. Shipping and
          handling not included.


          chat light articles

               • Does This Web Cam Light Work With All Monitors?
               • Is The Web Camera Or Chat Light More Important?
               • The Correlation Between Attractiveness And Success.
               • The Importance Of First Impressions.
               • Using The VCL As A Skype Light.
               • What Is A Video Chat Light?
               • Why Can't I Use My Desk Lamp?
               • Why Have I Not Seen Webcam Lights Before?
               • Why Is Lighting So Important With Cameras?
               • Will A Video Chat Light Make Me Look Better?

          Copyright © 2013 Chat Light
                                                                                                                                                           PIP-000004
2 of 3                                                                                                                                                                    7/24/2024, 9:47 AM
Chat Light | Video Chat Light | Webcam Light | Skype Light | Chat Lighting                         https://web.archive.org/web/20130127020653/http://www.chatlight.com/
                                          Case: 1:24-cv-05218 Document #: 69-2 Filed: 08/06/24 Page 4 of 44 PageID #:1122
          All Rights Reserved

          contact us

                                                               Your Message
          Your Name                  Your E-Mail                              Submit

          Connect

               • Twitter
               • Facebook
               • YouTube
               • Vimeo
               • LinkedIn

          Our Patent




          Brought to you by




                                                                                                                                    PIP-000005
3 of 3                                                                                                                                             7/24/2024, 9:47 AM
                Case: 1:24-cv-05218 DocumentDesktop
7/26/24, 12:17 PM                            #: 69-2RingFiled:    08/06/24
                                                         Light with             Page
                                                                    Adjustable Stand    5 Glow
                                                                                     – Pro of 44 PageID #:1123
                                                                                               Gear




    Desktop Ring Light with Adjustable Stand
    $24.99 USD

    Quantity


                1



                                    Add to cart

                                                                                                PIP-000006
https://proglowgear.com/products/desktop-ring-light-with-adjustable-stand                                        6/8
                Case: 1:24-cv-05218 DocumentDesktop
7/26/24, 12:17 PM                            #: 69-2RingFiled:    08/06/24
                                                         Light with             Page
                                                                    Adjustable Stand    6 Glow
                                                                                     – Pro of 44 PageID #:1124
                                                                                               Gear


                              Buy with


                                More payment options


    Ring Light with Stand:

    A must have for vloggers, students or for anybody who wants to take better selfies. Includes a 8"
    Ring Light, Stand, USB Cable & Phone Holder

    Three Light Settings:

    The desktop ring light can be set to White, Yellow & Daylight to adapt to any setting. This feature is
    perfect for photography lighting, video lighting, makeup light, or as a picture light

    Universal Compatibility:

    Whether you’re using an iPhone or any other brand, the adjustable phone holder will fit your device
    perfectly

    Versatile Shooting Angles:

    The phone holder & ring light holder can be adjusted for optimum lighting and shooting angles.
    Create the perfect shots & more dramatic photoshoots with the different lightings with this versatile
    ring light

    Adjustable Stand:

    This light ring comes with a 10" adjustable stand with a stable metal base. Versatile light that works
    best for livestreaming, video conferencing, content creation, reading, studying, applying makeup,
    selfies or product photography



    US Patent 7841729B2


        Share




    You may also like




                   Phone Ring Light                                  Tri Pod Ring Light   Ring Light Clip On For Laptop


                                                                                                   PIP-000007
https://proglowgear.com/products/desktop-ring-light-with-adjustable-stand                                                 7/8
                Case: 1:24-cv-05218 Document #: 69-2Phone
7/26/24, 12:19 PM                                    Filed:  08/06/24
                                                          Ring             Page
                                                               Light – Pro Glow   7 of 44 PageID #:1125
                                                                                Gear




    Phone Ring Light
    $14.99 USD

    Quantity


                1



                                   Add to cart

                                                                                          PIP-000008
https://proglowgear.com/products/phone-ring-light                                                         6/8
                Case: 1:24-cv-05218 Document #: 69-2Phone
7/26/24, 12:19 PM                                    Filed:  08/06/24
                                                          Ring             Page
                                                               Light – Pro Glow   8 of 44 PageID #:1126
                                                                                Gear


                              Buy with


                                More payment options



    Clip on Ring Light for Phone or Laptop:

    This mini, portable ring light easily clips on to any cell phone or laptop. Perfect for content creators,
    this selfie light instantly brightens & improves your photo & video quality



    Dimmable with Three Light Modes:

    This phone light offers three adjustable light modes to suit your needs. Choose from Warm Light,
    Cool Light or Daylight & adjust the brightness to achieve optimum lighting effect



    Rechargeable and Portable:

    The ring light has a USB port for easy charging, so you can bring it with you anytime, anywhere. It's
    compact size makes it easy to fit in bags, backpacks or purse for an instant glow up light when
    taking selfies



    Multi-purpose Light:

    Great as a light for phone, laptop or computer monitor. Ideal for video conferencing, streaming or
    as a selfie light.
    Versatile Compatibility: Works with all devices - phones, tablets or laptops. Clips are padded to
    prevent scratches on your screen. Easy to use, just clip on your device start taking selfies!

    US Patent 7841729B2



        Share




                                           Subscribe to our emails


                               Email                                                         Follow on



                                                                                          PIP-000009
https://proglowgear.com/products/phone-ring-light                                                               7/8
                Case: 1:24-cv-05218 Document #: 69-2 Filed:
7/19/24, 12:41 PM                                            08/06/24
                                                        Products – Pro GlowPage
                                                                            Gear 9 of 44 PageID #:1127




    Products

         Filter and sort Filter
                                                                                               Sort by:   Alphabetically, A-Z
                                                                 4 products




         Desktop Ring Light with              Phone Ring Light                Ring Light Clip On For           Tri Pod Ring Light
            Adjustable Stand                                                         Laptop
                                              $14.99 USD                                                        $29.99 USD
             $24.99 USD                                                          $19.99 USD


             Add to cart                      Add to cart                       Add to cart                     Add to cart




                                          Subscribe to our emails


                                Email                                                                            Follow on




    © 2024, Pro Glow Gear Powered by Shopify




                                                                                                             PIP-000010
https://proglowgear.com/collections/all                                                                                             1/2
               Case: 1:24-cv-05218 Document #: 69-2 Filed:
7/19/24, 12:41 PM                                          08/06/24
                                                       Products          Page
                                                                – Pro Glow Gear 10 of 44 PageID #:1128




                                                                                        PIP-000011
https://proglowgear.com/collections/all                                                                  2/2
               Case: 1:24-cv-05218 Document #: 69-2
7/26/24, 12:20 PM                                     Filed:
                                                Ring Light      08/06/24
                                                           Clip On For LaptopPage   11Gear
                                                                             – Pro Glow of 44 PageID #:1129




                                                                                            PIP-000012
https://proglowgear.com/products/clip-on-ring-light                                                           18/24
               Case: 1:24-cv-05218 Document #: 69-2
7/26/24, 12:20 PM                                     Filed:
                                                Ring Light      08/06/24
                                                           Clip On For LaptopPage   12Gear
                                                                             – Pro Glow of 44 PageID #:1130




                                                                                            PIP-000013
https://proglowgear.com/products/clip-on-ring-light                                                           19/24
               Case: 1:24-cv-05218 Document #: 69-2
7/26/24, 12:20 PM                                     Filed:
                                                Ring Light      08/06/24
                                                           Clip On For LaptopPage   13Gear
                                                                             – Pro Glow of 44 PageID #:1131




                                                                                            PIP-000014
https://proglowgear.com/products/clip-on-ring-light                                                           20/24
               Case: 1:24-cv-05218 Document #: 69-2
7/26/24, 12:20 PM                                     Filed:
                                                Ring Light      08/06/24
                                                           Clip On For LaptopPage   14Gear
                                                                             – Pro Glow of 44 PageID #:1132




                                                                                            PIP-000015
https://proglowgear.com/products/clip-on-ring-light                                                           21/24
               Case: 1:24-cv-05218 Document #: 69-2
7/26/24, 12:20 PM                                     Filed:
                                                Ring Light      08/06/24
                                                           Clip On For LaptopPage   15Gear
                                                                             – Pro Glow of 44 PageID #:1133




    Ring Light Clip On For Laptop
    $19.99 USD

    Quantity


                 1



                                    Add to cart

                                                                                            PIP-000016
https://proglowgear.com/products/clip-on-ring-light                                                           22/24
               Case: 1:24-cv-05218 Document #: 69-2
7/26/24, 12:20 PM                                     Filed:
                                                Ring Light      08/06/24
                                                           Clip On For LaptopPage   16Gear
                                                                             – Pro Glow of 44 PageID #:1134

                               Buy with


                                 More payment options


    Clip on Ring Light for Laptop: This mini, portable ring light easily clips on to any cell phone or laptop.
    Perfect for content creators, this selfie light instantly brightens & improves your photo & video
    quality

    Dimmable with Three Light Modes: This phone light offers three adjustable light modes to suit your
    needs. Choose from Warm Light, Cool Light or Daylight & adjust the brightness to achieve optimum
    lighting effect

    Rechargeable and Portable: The ring light has a USB port for easy charging, so you can bring it with
    you anytime, anywhere. It's compact size makes it easy to fit in bags, backpacks or purse for an
    instant glow up light when taking selfies

    Multi-purpose Light: Great as a light for phone, laptop or computer monitor. Ideal for video
    conferencing, streaming or as a selfie light.

    Versatile Compatibility: Works with all devices - phones, tablets or laptops. Clips are padded to
    prevent scratches on your screen. Easy to use, just clip on your device start taking selfies!



    Illuminate your selfie game and level up your content creation with our versatile Clip on Ring Light.
    This compact and portable 4" ring light can be used for taking selfies, video recording &
    conferencing, applying makeup, creating content for Tiktok, Instagram or Facebook, reading,
    studying or as an instant flashlight in the car.


    With three light modes (Warm Light, Cool Light & Daylight), our ring light can accommodate your
    lighting needs whether you're shooting during the day or at night. The dimmable feature allows you
    to fine-tune your lighting to get just the right glow for your photos or videos.



    The clip-on design is compatible with phones, tablets, laptops, computer monitors and car mirrors.
    A versatile tool and an essential addition to your streaming accessories. Our 4" ring light is USB
    rechargeable, so you can easily power it up anytime, anywhere. No more worrying about batteries!
    Plus, it's LED, which means it's energy-efficient and will last you a long time.


    Ideal for photography or even for makeup application, this ring light for iPhone also comes in
    handy for Zoom meetings, ensuring you look your best even in virtual meetings. This portable ring
    light is easy to carry and will fit perfectly in your bag.



    US Patent 7841729B2




        Share




                                             Subscribe to our emails
                                                                                            PIP-000017
https://proglowgear.com/products/clip-on-ring-light                                                           23/24
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  17 of 44 PageID #:1135
                                                                            Glow Gear




                                                                                          PIP-000018
https://proglowgear.com/products/tri-pod-ring-light                                                        1/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  18 of 44 PageID #:1136
                                                                            Glow Gear




                                                                                          PIP-000019
https://proglowgear.com/products/tri-pod-ring-light                                                        2/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  19 of 44 PageID #:1137
                                                                            Glow Gear




                                                                                          PIP-000020
https://proglowgear.com/products/tri-pod-ring-light                                                        3/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  20 of 44 PageID #:1138
                                                                            Glow Gear




                                                                                          PIP-000021
https://proglowgear.com/products/tri-pod-ring-light                                                        4/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  21 of 44 PageID #:1139
                                                                            Glow Gear




                                                                                          PIP-000022
https://proglowgear.com/products/tri-pod-ring-light                                                        5/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  22 of 44 PageID #:1140
                                                                            Glow Gear




                                                                                          PIP-000023
https://proglowgear.com/products/tri-pod-ring-light                                                        6/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  23 of 44 PageID #:1141
                                                                            Glow Gear




                                                                                          PIP-000024
https://proglowgear.com/products/tri-pod-ring-light                                                        7/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  24 of 44 PageID #:1142
                                                                            Glow Gear




                                                                                          PIP-000025
https://proglowgear.com/products/tri-pod-ring-light                                                        8/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  25 of 44 PageID #:1143
                                                                            Glow Gear




                                                                                          PIP-000026
https://proglowgear.com/products/tri-pod-ring-light                                                        9/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  26 of 44 PageID #:1144
                                                                            Glow Gear




                                                                                          PIP-000027
https://proglowgear.com/products/tri-pod-ring-light                                                        10/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  27 of 44 PageID #:1145
                                                                            Glow Gear




                                                                                          PIP-000028
https://proglowgear.com/products/tri-pod-ring-light                                                        11/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  28 of 44 PageID #:1146
                                                                            Glow Gear




                                                                                          PIP-000029
https://proglowgear.com/products/tri-pod-ring-light                                                        12/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  29 of 44 PageID #:1147
                                                                            Glow Gear




                                                      NaN/-Infinity




                                                                                          PIP-000030
https://proglowgear.com/products/tri-pod-ring-light                                                        13/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  30 of 44 PageID #:1148
                                                                            Glow Gear




                                                                                          PIP-000031
https://proglowgear.com/products/tri-pod-ring-light                                                        14/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  31 of 44 PageID #:1149
                                                                            Glow Gear




                                                                                          PIP-000032
https://proglowgear.com/products/tri-pod-ring-light                                                        15/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  32 of 44 PageID #:1150
                                                                            Glow Gear




                                                                                          PIP-000033
https://proglowgear.com/products/tri-pod-ring-light                                                        16/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  33 of 44 PageID #:1151
                                                                            Glow Gear




                                                                                          PIP-000034
https://proglowgear.com/products/tri-pod-ring-light                                                        17/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  34 of 44 PageID #:1152
                                                                            Glow Gear




                                                                                          PIP-000035
https://proglowgear.com/products/tri-pod-ring-light                                                        18/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  35 of 44 PageID #:1153
                                                                            Glow Gear




                                                                                          PIP-000036
https://proglowgear.com/products/tri-pod-ring-light                                                        19/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  36 of 44 PageID #:1154
                                                                            Glow Gear




                                                                                          PIP-000037
https://proglowgear.com/products/tri-pod-ring-light                                                        20/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  37 of 44 PageID #:1155
                                                                            Glow Gear




                                                                                          PIP-000038
https://proglowgear.com/products/tri-pod-ring-light                                                        21/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  38 of 44 PageID #:1156
                                                                            Glow Gear




                                                                                          PIP-000039
https://proglowgear.com/products/tri-pod-ring-light                                                        22/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  39 of 44 PageID #:1157
                                                                            Glow Gear




                                                                                          PIP-000040
https://proglowgear.com/products/tri-pod-ring-light                                                        23/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  40 of 44 PageID #:1158
                                                                            Glow Gear




                                                                                          PIP-000041
https://proglowgear.com/products/tri-pod-ring-light                                                        24/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  41 of 44 PageID #:1159
                                                                            Glow Gear




                                                                                          PIP-000042
https://proglowgear.com/products/tri-pod-ring-light                                                        25/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  42 of 44 PageID #:1160
                                                                            Glow Gear




    Tri Pod Ring Light
    $29.99 USD

    Quantity


                 1



                                     Add to cart

                                                                                          PIP-000043
https://proglowgear.com/products/tri-pod-ring-light                                                        26/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  43 of 44 PageID #:1161
                                                                            Glow Gear


                               Buy with


                                 More payment options


    Ring Light with Stand: A must have for vloggers, students or for anybody who wants to take better
    selfies. Includes a 10" Ring Light, Tripod Stand, Phone Holder & a Bluetooth Wireless Remote

    Three Light Settings: The ring light can be set to White, Yellow and Daylight to adapt to any setting.
    This feature is perfect for photography lighting, video lighting, makeup light, or an extra light source

    Bluetooth Remote Control: The ring light with tripod comes with a Bluetooth remote control. This
    handy feature allows you to take photos and videos at a distance

    Versatile Shooting Angles: The phone holder & tripod head can be adjusted for optimum lighting
    and shooting angles. Create perfect shots & more dramatic photoshoots with the different lightings
    of this versatile ring light with tripod

    Adjustable Tripod Stand: This light ring comes with a 5 feet adjustable tripod stand. With a stable
    base that is suitable for different floor surfaces. With a collapsible design that's compact & portable

    What's Included:
    1x 10" Ring Light
    1x Phone Holder

    1x 5 ft. Tripod Stand
    1x Bluetooth Remote Control

    1x USB Power Cable


    The Ring Light Tripod with phone holder is an important tool for influencers, makeup artists, and
    content creators. The ring light with tripod stand is useful for online conferencing, vlogging,
    tutorials, product photography, video recording, selfies or livestreaming.



    Our ring light tripod is equipped with a 10" ring light with 3 light settings. Choose the perfect
    lighting, use Cool White, Warm Yellow or Daylight. It provides a professional-quality light to improve
    your videos and photos. Adjustable brightness lets you choose the best lighting condition that
    complements your best features.



    The ring light with USB cord comes with a 5-foot adjustable tripod stand. This cell phone tripod
    stand can hold your phone securely while you capture the perfect shot. Our ring light with phone
    holder offers a perfect balance of light, eliminating shadows and casting a soft light on your face.
    Ideal for photoshoots, video calls, or zoom meetings.



    The Bluetooth remote control that lets you take photos or start and stop video recording from a
    distance. The tripod has a portable & collapsible design that's easy to set up and store. Whether
    you're a professional photographer or a social media influencer, our Ring Light Tripod is your
    perfect partner!


    US Patent 7841729B2




                                                                                          PIP-000044
https://proglowgear.com/products/tri-pod-ring-light                                                        27/28
               Case: 1:24-cv-05218 Document #: 69-2 Tri
7/26/24, 12:20 PM                                   Filed:   08/06/24
                                                        Pod Ring Light – ProPage  44 of 44 PageID #:1162
                                                                            Glow Gear

        Share




                                             Subscribe to our emails


                                Email                                                         Follow on




    © 2024, Pro Glow Gear Powered by Shopify




                                                                                          PIP-000045
https://proglowgear.com/products/tri-pod-ring-light                                                        28/28
